Case 14-13436-CMG       Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07      Desc Main
                                 Document      Page 1 of 13



      UNITED STATES BANKRUPTCY
      COURT
      DISTRICT OF NEW JERSEY


      Eric L. Leinbach, Esq.
      1603 Butler Street
      Easton, PA 18042
      Phone Number (610) 258-5859
      Fax Number (610) 252-0806
      Attorney for the Debtors Morrision



                                                Case No.: 14-13436-CMG

      In Re: Gary Morrison and
            Michele Morrision
                                                Adv. No.: N/A
                          Debtors
                                                Hearing Date: May 6, 2014 at 10:00
                                                AM

                                                Judge: Gravelle



           CERTIFICATION IN REPLY TO TRUSTEES OPPOSITON TO
            DEBTORS MOTION TO CONVERT TO CHAPTER 13 AND
                      DISGOURGE ATTORNEYS FEES

We Gary and Michele Morrison certify as follows:


 1.        Upon information and belief and advice of counsel, we have a statutory right to
  convert our case from chapter 7 to chapter 13. 11USC706
 2.          The Trustee's objection to our conversion is riddled with presumptions, false
  assumptions, and inaccurate statements.
 3.          The Trustee recites in paragraph 3 of her objection to our conversion
  (hereinafter “objection”) that we have limited income stemming from the workers
  compensation case, which we apparently failed to initially disclose: and further, that
  we have no ability to propose a feasible plan. These assertions are simply not true.
  First, we did not know that we had a workers compensation claim until February 24,
Case 14-13436-CMG      Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07       Desc Main
                                Document      Page 2 of 13



  2014 after we signed, and filed the petition, and did not begin receiving checks from
  workers compensation until March 10 or 11, 2014. Therefore, we could not set forth
  that we had a workers compensation claim, or workers compensation income on our
  original petition. Second, our new counsel had advised the Chapter 7 panel Trustee
  our schedules were inaccurate and he was in the process of revising them. When we
  met with our original attorney, Mr. Wilhelm, we were not presented with our complete
  petition and schedules for review, but rather with eight signature pages to sign and
  only saw two pages of our schedules. We subsequently met with Mr. Wilhelm in
  March, he asked us to sign a piece of paper, and unbeknownst to us he filed
  amendments in our case, which we never saw, or were told about. We have never seen
  the amendments until our new counsel showed us and provided copies of the
  amendments to us.
 4.         In paragraph 4, of the Trustee's objection it is asserted that the real reason
  we seek to convert to Chapter 13 is to retain assets for the        business, which is
  producing zero income. The statement is patently false, we initially contacted Mr.
  Wilhelm in order to file a Chapter 13 and proceeded down that path for some time.
  After meeting with Mr. Wilhelm, he changed his advise and recommended we file
  Chapter 7. Moreover, our business is not losing money.      During the first quarter of
  2014 the business had a profit of approximately $5000; and we very much can
  propose a feasible plan. What may be in question is our qualification to be in Chapter
  7 bankruptcy. Mr. Wilhelm has in his certification set forth that he believes our
  maximum family size would be limited to four individuals ,which we understood and
  did not object to. However, in the statement of current monthly income, Mr. Wilhelm
  set forth our family size as five. Upon information and belief, Mr. Wilhelm increased
  our family size from four to five, in order to make us eligible for a Chapter 7, which
  we did not seek to file. We did not see the statement of current monthly income, when
  we signed the signature pages for the petition and schedules. We very much can
  propose a feasible plan based on our income; and should our business income
  dissipate, we have alternative means which we could implement to produce income.
 5.          In paragraph 5 of the Trustee's objection, the Trustee asserts that our
  schedules are riddled with inconsistencies. That is true. However, until our new
  counsel showed us the bankruptcy schedules on April 4, 2014 we had not reviewed the
Case 14-13436-CMG      Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07       Desc Main
                                Document      Page 3 of 13



  schedules or the subsequent amendments.          Our counsel has advised us that he
  contacted the chapter 7 Trustee Peggy Stalford and advised her the schedules were
  erroneous and unreliable and that he would amend them.
 6.          In paragraph 6 of the Trustee's objection, the Trustee asserts that the path
  to chapter 13 would be doomed to failure, and that on the face of it our case represents
  a bad faith filing. However, there has been no bad faith by us at any time, only
  misplaced trust in our original counsel and, very poor advice from our original
  attorney who we relied upon. We have never been involved in a court action, or any
  bankruptcy and have never had an attorney before Mr. Wilhelm represented us.
 7.          In paragraph 7 the Trustee asserts that we intentionally did not go to our
  section 341 meeting of creditors, and that we had hoped our case would be dismissed.
  It is true that we did not attend our section 341 creditors meeting, as we were
  instructed by our counsel not to do so; and he informed us that he would not go to the
  hearing. At the same time Mr. Wilhelm indicated that the court would reschedule the
  hearing, and that he had no intention of going to the second rescheduled hearing nor
  should we attend the hearing, so that the case would be dismissed.            However,
  dismissal of our case was not our desire or expectation; we filed bankruptcy in order
  to obtain relief from our creditors and obtain a fresh start. It was Mr. Wilhelm, who
  wanted the case dismissed. Being instructed not to go to our hearing was a flashing
  red light to us and being informed that we should not go to the second hearing so that
  our case would be dismissed was the bells, whistles and sirens. We then sought
  alternative legal advice because we did not want our case dismissed and the advice we
  were obtaining from Mr. Wilhelm did not ring true.
 8.          In paragraph 11 of the Trustee's objection the Trustee asserts that we filed
  amended schedules. While we acknowledge the amended schedules were filed after a
  review of the docket with our new counsel; we never saw or were aware the amended
  schedules prior to their being filed by our former counsel.
 9.         The Trustee setforth at great length the inconsistencies with our schedules,
  as well as the impropriety of the exemptions taken, we don't dispute that. Our new
  counsel upon being retained promptly called Peggy Stalford to advise her, the
  schedules were improperly done, were erroneous, and were inaccurate and would be
Case 14-13436-CMG       Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07       Desc Main
                                 Document      Page 4 of 13



  amended. Counsel for the Trustee is only stating the obvious, and that which was
  already communicated to the Trustee three weeks ago.
 10.             Gary Morrison has returned to work on April 30, 2014. After being
  released by his doctor in order to resuming work full-time. Our business is growing
  and has become profitable.
 11.             At all times, we have been honest with our former counsel our present
  counsel and believed all times we were doing the proper things with the bankruptcy
  court. We are not bankruptcy attorneys, we are not attorneys, we are not paralegals,
  we are not legal secretaries, we've never worked in a law office or the bankruptcy
  court. We don't know bankruptcy law or of the bankruptcy rules, and therefore we
  hired an attorney who held himself out to be knowledgeable about bankruptcy
  matters. We had delivered documentation to Mr. Wilhelm, amounting to 2.5 to 3
  inches of paperwork, which documented our financial situation. Had we been given
  copies of our schedules, and had Mr. Wilhelm discussed and reviewed the schedules
  with us prior to the schedules being filed , then the errors no doubt would've been
  corrected or petition or schedules not filed. During our dealings with Mr. Wilhelm we
  advised him, we had gone to great lengths and to great expense to attempt to start a
  business during the last 3 to 4 years and to repay our creditors. We advised Mr.
  Wilhelm it was of the utmost importance to us that the business assets as well as our
  personal assets be protected during the bankruptcy process.
 12.             While the Trustee accuses us of running for the hills, the only thing
  we've done is run from our former counsel to a new one.              Since we were so
  underrepresented that for all practical purposes we were unrepresented; and certainly
  by the instructions we received not to attend our section 341 creditors meeting the first
  time or second time misrepresented.
 13.             We've only sought to do what we were supposed to do. However our
  original counsel did not advise us properly as to what to do. It is not a matter of bad
  faith conduct on our part but rather a lack of knowledge and the misrepresentation of
  our former counsel.
 14.             The Trustee also asserts that we are attempting to manipulate
  exemptions. Up until two weeks ago we did not know what exemptions were, we
  cannot manipulate something we don't even know that exists or means.
Case 14-13436-CMG        Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07     Desc Main
                                  Document      Page 5 of 13



 15.             Annexed hereto as Exhibit A is a true, genuine and accurate copy of an
  April 28, 2014 appraisal of our business machinery with the exception of the forklift.
 16.             A separate estimate as to value of the forklift was obtained and true
  genuine and accurate copy of the forklifts’ estimated value dated April 30 is attached
  hereto as Exhibit B.
 17.             Mr. Wilhelm had never requested that we obtain evaluation of our
  business machinery.
 18.             The value of our home is overstated in our petition and schedules. All
  Mr. Wilhelm had obtained a recent Zillow appraisal which comports to the amended
  value of her home Mr. Wilhelm chose to use a 2010 appraisal which was substantially
  higher and out of date. Mr. Wilhelm had never requested we get a recent appraisal,
  CMA or, brokers Price opinion.
 19.             The only instructions we received initially from Mr. Wilhelm's office in
  completing our bankruptcy worksheets was that, if we are were unsure of any value to
  leave the item blank. Annexed hereto and made part hereof as Exhibit C is a true
  genuine and accurate copy of an example that we were given. The court should note
  that in the upper right-hand corner the instruction to leave items blank. Subsequently
  Mr. Wilhelm requested we provide our best estimate as to the value of our machinery,
  however we are not appraisers.
 20.             The vast majority of the machinery we purchased was done out of our
  personal account and not our business account; were asked for a list of the machinery
  and values and we used purchase price for the most part. We were never given any
  guidance as to determining ownership or how value the machinery. Whether the
  business purchased the machinery or we did so individually is objectively
  demonstrable and traceable through both our business bank account and our personal
  account. However we understand since the intended use was for the business and that
  our personal purchases were on behalf of the business all the machinery should be
  considered business machinery of the LLC.
 21.             The operating loss of the LLC which the trustee complains of was based
  upon the accounting. January 1 through October 31, 2013; no time period for the
  business income was requested or suggested.
Case 14-13436-CMG     Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07   Desc Main
                               Document      Page 6 of 13



  23.         The first time Gary Morrison met with Scott Wilhelm was on February 21,
  2014 when 5-8 signiture pages were presented to him for signature during a ten
  minute meeting.




        5/2/2014
                                      /s/ Gary Morrison


                                      /s/ Michele Morrison
Case 14-13436-CMG   Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07   Desc Main
                             Document      Page 7 of 13




                             EXHIBIT A
                                                                                       I l3$UUbbZ/                                     p.!
A p r 3 C - 14Case
              1 n , . 2 814-13436-CMG
                          e                 Doc
                                             t-l-C
                               R.P lv'lachine.       38      Filed 05/02/14 Entered 05/02/14  20:58:07                          Desc Main
                                                            Document      Page 8 of 13

                                                                                                          Servingfhe HVrtC &
                                                                                                         Fob r i c oti un Jndusfries




                April 28,2Oi4

                 Mr, Gary fu{ori'ison
                 Morrison Desigrr,LLC
                 543 N Main St-
                 Stewartsvltle, NJ 08886

                                           fcr Shop Equipment Valuatlcn
                 Equiprneni Dealer Purehase
                                                                          ngelYegjj          Purchase Arntr$nt
                i DescriFtisn
                           -|                                                                59,Boo
                  f f-g'" t DF t'-4".hi." Ha14                                               5tz,ooc
                                                                                             $r;q_
                                                                                             $is0
                  Pittsb,urghLockAtr ;lemrng                                                 (?nfl

                  FiaslerEasTtd                                                              52SS
                  ilrr nsmittr Cleal 6ender                                                  SrEA
                  Cheer Bender                                           i 4S Yt'             $i-,508
                                                                         i ' t t {{ r r r     5soo
                   N;;;at D4J6 EgIj nd P"" =BtqF:*;:;
                                                                                        ,'




                                        'gtglgI?:i-16
                                                                         i :ac+               Si,75-"1
                   Tennsrnithuof t"glt,                                                        s1,o0CI
                                                                               5ovr          I 575s
                                                                               5Ovr          i SsoA

                   Pexta3'JumPShear               ...---'                                     5250
                        n sptzrT Pg49!!-el{ rgggl dgI
                   Lrrrco                                                                     52OO
                   LincotnStickWelCer
                                                                            i +!:r**           $rca
                   [*rc* AF-12Drill Press                                        4OYr          5sa
                                                    ?
                   .qmr*i-p*i estal Gri nder'-l" ii                               4,oYr        550
                                                                                  r.989        Not e';aluated



                    Pricrngis valuedasof APriiZC1'4'
                                              v;e welcarn*your *ti-
                    ShoutdYouhaveany questions'

                     SincerelY,

                      H-'*&
                      RandallL-Fobutkievr'icz
                      President
                      R.P.ltlachine                                                                                                     '
                                                    | Fax: 973'3ao '56;i7 * loll Free: 8oo'8=8"657o
                              Fhone; 973-383'Bgg+                     sh opRPMachine' co rn
                                         \4rww .rpia cn' com & wwr';'
                                           p-o. B;; r44 'stitiwater'   New Jerscy a7875
Case 14-13436-CMG   Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07   Desc Main
                             Document      Page 9 of 13




                             EXHIBIT B
 Case 14-13436-CMG          Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07                  Desc Main
                                     Document     Page 10 of 13




38 Parkway Place . Edison, NJ W7                                                  Attthofired    kalq
Phone: 792-727-45do . Far: 792-727-7597


     April 3A,2At4




     Morrison DesignLLC
     1559 SpringtownRoad
    Alpha NJ 08865



     1988KalrnarModel CSOB

    Perour phone conversation,basedon the year of your Forkliftthe unit is only
    Worth scrapvalueabout SS00.00.




    Sincerely,
    CammyKapusta
Case 14-13436-CMG   Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07   Desc Main
                             Document     Page 11 of 13




                             EXHIBIT C
      4,,=,,
                                                                                    t
               Case 14-13436-CMG           Doc 38    Filed a05/02/14 n iEntered 05/02/14
                                                                                 LV 20:58:07              Desc Main
                                                          a4d-t,:L{}Li
                                                    Document      Page 12 of{i n
                                                                               13
                  {propertyyou own)

       Tlpe of properfy: I   Rea)Estate(real prop er}) gdher   (personalproperry)         Ifyou areunsureabout
                                                                                          an onswerleaveit blank!
              B (personal
       Schedule        property)    : fteferto columnon righr)j5-
                              category
                                                                                          PersonalPropere
                                      (if real estete,
                andiocationof properry:
       Descnption                                   pleaseprovidethelegaldescrtption)
                                                                                          Categories:                       ,
                         -TT-L                                                            1. Cash on hand
                           ,,                                                             2. Deposiu of money
             ,ACCC     e niV.t  lmDalct                                                   J. Secarity deposits
                                                                                            7\{ ouseholdgoods, supplies,

             Lt-i ltc, DOC  n"'T-                                                              andfurnishings
                                                                                          .t. Book, pictures, art objects;
                                                                                               stamp, coin, and other




                                                                                                Firearms, sportsequipment
                                                                                                and other hobbyequipment
                                                                                               Interests in tnsurance
                                                                                               policies
                                                                                               Annuilies
                                                                                               Interesls in an educadon
                                                                                               IRA
.>                                                                                             Pension or profi t-sharing
 c.
                                                                                               plans
                                                                                                Stockinterest in
:
o
                                                                                               incomorated anr!
a     Oy=r!ip: I SingleIndividual[n/a] fl Husbandn Wife I Joint I Community                    untncorporated companies
 E                                                                                        14. Inlerests in partnerships
                             oi'
ll-
      MarketValue:$ SOCC.                                                                 J5. Governmentand corporate
q                                                                                              borutsand other negotiable
                                                                                               and non-negotiable
N
      DatePurchased:
                 iA lDe                                                                        instruments
                                                                                          16. Accounts receivable
.     If real estate,stateyour interest:                                                  I7. Alimony, orfamily tuppor{
 o
                                                                                           18. Other liquidated debts
                                                                                               owing debtor, including tax
      If you still orvemoney on this properfy,list to whom:                                    refunds
=
ll.
      1
                                                                                          )9. Equitable andfuure
N      I
lU
ts
                                                                                               interests,life r-statr-sarul
                                                                                                rights or powers
      2.                                                                                  20. Contingentand non-
                                                                                               contingent claims
o                                                                                         21. Other contingentand
      3.                                                                                       unliquidated claims
                                                                                          22. Patents, copyrights and
      Your aftorneywill completethe following:                                                 ot her intellectuaI p r operty
                                                                                          23. Licenses,franchises and
      ExemptionStatute:                                                 Amount:                other general intangib les
                                                                                          24. Customerlistsor other
                                                                                               compil adors containi ng
      ExemptionStatute:                                                 Amount:               p ersonally id ent if ab Ie
                                                                                               information
      ExemptionStatute:                                                 Amount:           25. Automobiles,trucks, trailer
                                                                                               and other vehicles
                                                                                               Boats,motorsand
      Notes   nl                                                                               accessories
              Please review the personal property   categories on the right.
                                                                                           27. Aircraftand accessories
      After reviewing the categories,   choose the categories  that pertain               ffi oflirr-"ouipment..
                                                                                          \J   .'     . ,.'
      to you.   For each category that pertalns  to you, please list  each on                       rnishingsand supplies
      a separate sheet.   Please use the example shown above as a guide on
                                                                                               equipmentand supplies
      on the category should be listed.
                                                                                          30. Inventory
                                                                                          31. Ltvesroik,
                                                                                                      poultryandoth{r
                                                                                               animals
                                                                                          32. Crops
                                                                                          33. Farming equipmentand
                                                                                              implemens
                                                                                          34. Farm suppltes,chenticals
                                                                                              andfeed
           * The more complete the packet,                                                35. Otherpersonalproperty
                                                    the   easier   it   i-s to process*
                   Case 14-13436-CMG                Doc 38    Filed 05/02/14 Entered 05/02/14 20:58:07                             Desc Main
                                                             Document     Page 13 of 13
                     (debts you owe)
           LIABILITIES

           Twe of debt:M UnsecuredI             Securedn PrioriryI NoticeG,ly                                            If you are ansure about
                         r                                                                                               an answerleove it blank!
           crediror
                 Name -- -'--
                          {l1g{
                              -"-*-"-*l U


           Address:          YX          KvvxY/            >-/



                             X F/y'y     Y'v   x/     >xxX/

           Contact:                                         Telephone:

           AccountNumber:         - x 14{.rxY---guax:
           Responsible
                     Parly: I          SingleIndividual[n/a] [    HusbandI       Wife I Joint f] Communiry
           AmountOwed:$ Afip-,                 .-: If priorirydebt,amount
                                                                       of priority:S_                          If a priority debt,
                                                                                                               indicatethe type oJ
           Date of Claim: (ist the date clainl was incuved, nature of lien and anypropertysubjectto that lien)
                                                                                                               priority:

                                                                                                                         f   DomesticSupport
                                                                                                                             Obligations
     ->
                                                                                                                     f       Extensiotzsof cretlit in
     o                                                                                                                       an involuntatycase
     )
                                                                                                                     I       lltages,salaries,and
 a         Yourintent:I SunenderI ReaffirmI RedeemI Exempt
     E                                                                                                                       commissions
     o
 tJ-

 -         ASSignggs                                                                                                 I        Contributionsto
                         ftst the ndtnesancl addresses
                                                     of any partiesattentptittgro collecton behalfof rhiscreditor)
 v
 C\                                                                                                                          employeebenefit plans
@
o          Name                                                                                                      I       Certainfarmers and
                                                                                                                             Jisherman
:          Address:                                                                                                          Deposits by
 o
                                                                                                                     I
s                                                                                                                            indivtduals
;
=
t:
                                                                                                                     f,Taxesand certain
N
uJ         Contact:                                        Telephone
                                                                   :                                                   other debtsowed to
F.
                                                                                                                       governmentalunits
N

           COdgbtOfS     /isl the nantesand addresses
                                                    of any personsthar are liablefor thisdebt with you)              Q Commitrnentsto
o                                                                                                                      maintain the capital of
           Name:                                                                                                       an insured depository
                                                                                                                       institution
          Address:                                                                                                           Claimsfor death or
                                                                                                                     f
                                                                                                                             personal injury while
                                                                                                                             debtorwas intoxicated
          Contact:                                         Teiephone:

          Name:

          Address:



          Contact:                                         Telephone:

           NOteS please list  all debt on the pages entitled Liabilities.  Just
           like the asset pages, please use a separate sheet for each liability
          you have.  The creditor  name, address and the last four digits of the
          account are required.   The amount owed is not necessary however it is
          he1pfu1.
